          Case 1:24-cv-08730-LTS          Document 4       Filed 11/22/24      Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBERT W. JOHNSON,
                             Plaintiff,                      24-CV-8730 (LTS)
                    -against-                                ORDER OF DISMISSAL
DADDY’S HOUSE RECORDS, INC., et al.,                         UNDER 28 U.S.C. § 1651

                             Defendants.

LAURA TAYLOR SWAIN, Chief United States District Judge:

       On July 10, 2020, the court barred Plaintiff from filing any new civil action in this court

in forma pauperis (“IFP”) without first obtaining from the court leave to file. See Johnson v.

O’Hagan Wolfe, ECF 1:19-CV-7337, 8 (S.D.N.Y. July 10, 2020), appeal dismissed, No. 21-299

(2d Cir. July 15, 2021). Plaintiff files this new pro se action, seeks IFP status, and has not sought

leave from the court to file. The Court therefore dismisses this action without prejudice, due to

Plaintiff’s failure to comply with the court’s July 10, 2020 order in Johnson, ECF 1:19-CV-7337,

8.

       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this order

would not be taken in good faith and therefore IFP status is denied for the purpose of an appeal.

See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       The Court directs the Clerk of Court to enter judgment in this action.

SO ORDERED.

 Dated:    November 21, 2024
           New York, New York

                                                        /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                          Chief United States District Judge
